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UNITED STATES DISTRICT COURT

 

WESTERN DISTRICT OF LOUISIANA

 

LAFAYETTE DIVISION
WALKER AND SONS, INC. CIVIL ACTION 09-1822
VERSUS JUDGE HAIK
PUNCH YA DADDY, LLC., ET AL MAGISTRATE JUDGE HILL
RULING

Before the Court is a Motion for Preliminary Injunction filed by Walker and Sons, Inc. A
Hearing was held on January 13, 2010, at which time the Court ordered the parties to submit
supplemental briefs in support of their positions. All evidence has now been received and, after
full consideration of same, the Court finds as follows:

In its Application for Preliminary Injunction, the plaintiff seeks to prohibit the defendants
from using both the trade name “Punch Ya Daddy” and the associated labels and packaging. In
order to obtain a preliminary injunction, the moving party must establish these four elements: 1.
A substantial likelihood of success on the merits; 2. A substantial threat that plaintiff will suffer
irreparable injury if the injunction is denied; 3. That the threatened injury outweighs any damage
that the injunction might cause defendants; and 4. That the injunction will not disserve thepublic
interest. Busters LLC v. Brennan 177 F.3d. 258 (C.A. 5, 1999). Louisiana state law requires
similar proof.

The Court finds the plaintiff has satisfied the required elements with respect to the
packaging and labeling used on the “Punch Ya Daddy” products. The packaging/labeling used

by the defendants is so similar to that used by the plaintiff that the Court is convinced the
 

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resulting confusion is damaging to the plaintiff's business. Should the defendants continue use
of the packaging and labeling at issue, the injury to the plaintiff's business is certain to be
irreparable.

The plaintiff presented convincing evidence of the confusion being caused at this time.
Additionally, given the overwhelming similarities of the packaging used by the parties, it is likely
the plaintiff will prevail on the merits as it pertains to this issue. An injunction will require the
defendants to change the labeling and packaging of the “Punch Ya Daddy” products, which they
claim they are currently prepared to do. Consequently, it will not cause any damage to the
defendants which will outweigh the injury to the plaintiff. Finally, the public interest is best
served by the decision to require the defendants to clearly distinguish their product from those
marketed by the plaintiff. Clarity for both the consumer and the parties is the right outcome for
everyone involved.

As such, the request for Injunction is hereby GRANTED as to that portion of the
Application pertaining to the labeling and packaging used for defendants’ products.

The defendants are hereby ORDERED to cease use of the packaging and labeling at issue
immediately.

However, as to the trade name “Punch Ya Daddy”, the Court finds the plaintiff has not
met its burden of proof. After full consideration of all evidence and arguments presented, the
Court is not convinced that the trade names are so similar as to warrant the issuance of an
injunction. Although the names are generally similar, the evidence simply does not establish
infringement as alleged by the plaintiff and the elements required for the issuance of a

Preliminary Injunction have not been met. As noted during the Hearing, the term “Slap Ya
 

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Mama” is quite common. In fact, the evidence shows other companies using brand names which
are much more similar than the name “Punch Ya Daddy”. Once the defendants’ labeling and

packaging is revised, it is highly unlikely that any further confusion will take place as a result of

the brand names.

Thus, that portion of the Application for Preliminary Injunction related to the cessation of

the name “Punch Ya Daddy” is DENIED.

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THUS DONE and SIGNED on this day of March, 2010.

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BACHARD T. HAIK, SR., DISTRICT JUDGE
“UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

 
